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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP, DONALD J. TRUMP
 JR., ERIC TRUMP, IVANKA TRUMP,

 and
                                                     Docket No. 1:19-cv-03826-ER
 THE DONALD J. TRUMP REVOCABLE
 TRUST, THE TRUMP ORGANIZATION,                      JOINT STATUS REPORT
 INC., TRUMP ORGANIZATION LLC, DJT
 HOLDINGS LLC, DJT HOLDINGS
 MANAGING MEMBER LLC, TRUMP
 ACQUISITION LLC, and TRUMP
 ACQUISITION, CORP.,

                                 Plaintiffs,

                - against -

 DEUTSCHE BANK AG,

                                 Defendant,

 and

 COMMITTEE ON FINANCIAL SERVICES
 OF THE U.S. HOUSE OF
 REPRESENTATIVES and PERMANENT
 SELECT COMMITTEE ON
 INTELLIGENCE OF THE U.S. HOUSE OF
 REPRESENTATIVES,

                        Intervenor-Defendants.

       Pursuant to this Court’s order of August 23, 2021, the parties submit this status report

concerning future proceedings in this case:

                                   STATEMENT OF PARTIES

       Plaintiffs and Intervenor-Defendants are continuing to engage in negotiations intended to

narrow or resolve their disputes. In the last 30 days, the parties (including Deutsche Bank, AG

(“Deutsche Bank”), as the custodian of records) continued to work through considerations related to
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the scope, logistics, and other factors implicated by the proposal. Because the parties need additional

time to discuss the process being proposed, all parties agree that an additional 30 days will aid those

negotiations and will further allow coordination with Deutsche Bank regarding the implementation

and other considerations of any agreed-upon process. To allow additional time for these discussions,

the parties respectfully request that the Court set a new date for a status report of October 20, 2021.



 Dated: September 20, 2021                                      Respectfully submitted,

  s/ Douglas N. Letter                                           s/ Patrick Strawbridge
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  s/ Steven R. Ross
 Steven R. Ross                                                 Counsel for President Donald J. Trump, Donald J. Trump
 Raphael A. Prober                                              Jr., Eric Trump, Ivanka Trump, The Donald J. Trump
 Parvin D. Moyne                                                Revocable Trust, The Trump Organization, Inc., Trump
 Thomas C. Moyer                                                Organization LLC, DJT Holdings LLC, DJT Holdings
 AKIN GUMP STRAUSS HAUER & FELD LLP                             Managing Member LLC, Trump Acquisition LLC, and
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 Counsel for Deutsche Bank AG




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